                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

TAMMY MCCRAE-COLEY,

                       Plaintiff,

  vs.                                            Case No. 1:21-cv-666

STARTER HOMES PROGRAMS INC., et
al.,

                       Defendants.



                                    ENTRY OF DEFAULT


        This matter comes before the undersigned Clerk of Court upon Plaintiff’s

Request for Entry of Default filed on June 9, 2022.

        It appears that Defendants Starter Home Investing, Inc. dba

Renttoownhomefinder.com, Starter Home Investing, Inc. dba Lending Cloud Homes,

Starter Home Programs, Inc. dba Renttoownhomefinder.com, Starter Home Programs,

Inc. dba Lending Cloud Homes, Xanadu Marketing, Inc. individually (Assumed Name

Apex Page Builder) and dba Cloudbasedpersonalloans.com and Xanadutracking.com,

and Insurance-reviewed.com were served the summons and complaint have not filed an

answer or responsive pleading. It further appears that Defendant is subject to default as

provided by Rule 55 of the Federal Rules of Civil Procedure.

        THEREFORE, pursuant to Rule 55(a) of the Federal Rules of Civil Procedure,

default is hereby entered against Defendants Starter Home Investing, Inc. dba




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Renttoownhomefinder.com, Starter Home Investing, Inc. dba Lending Cloud Homes,

Starter Home Programs, Inc. dba Renttoownhomefinder.com, Starter Home Programs,

Inc. dba Lending Cloud Homes, Xanadu Marketing, Inc. individually (Assumed Name

Apex Page Builder) and dba Cloudbasedpersonalloans.com and Xanadutracking.com,

and Insurance-reviewed.com.

      This the 10th day of June, 2022.


                                         /s/ John S. Brubaker
                                          Clerk of Court




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